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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 ACP GP, LLC, et al.,
                                                  Civil Action No. 18-13147-CCC-ESK
               Plaintiffs,

 v.
                                                                   ORDER
 MOTIVATIONAL COACHES OF
 AMERICA, INC., et al.,

               Defendants.


         THIS MATTER having come before the Court on the “Motions and Motions to
Set Aside Clerk’s Entry of Default and Motion to Dismiss” (the “Motion”) of Julio Avael
(“Avael”) received and filed by the Court on January 13, 2020 (ECF No. 48); and
plaintiffs having consented to vacating the default against Avael on the record during the
telephone status conference on January 29, 2020 (ECF No. 53, p. 10):



        IT IS on this 28th day of February 2020 ORDERED that:

       1.     Avael’s request to set aside default is hereby GRANTED; and
       2.     Default against Avael (minute entry after ECF No. 44) is hereby vacated.

        3.        All other requests in the Motion are hereby DENIED. Additionally, this Order
shall not affect any other pending motions in this matter.




                                                       /s/ Edward S. Kiel
                                                      Edward S. Kiel
                                                      United States Magistrate Judge
